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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

        Plaintiff,
                                                     Case No. 21-cv-12193
v.                                                   Hon. Matthew F. Leitman

ROBERT SAMUEL SHUMAKE, JR., et al.,

     Defendants.
__________________________________________________________________/

     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT
      ROBERT SAMUEL SHUMAKE, JR.’S MOTION TO DISMISS THE
     COMPLAINT FOR FAILURE TO STATE A CLAIM (ECF No. 14) AND
       GRANTING PLAINTIFF LEAVE TO FILE A FIRST AMENDED
                          COMPLAINT

        On June 9, 2023, the Court held a hearing over video conferencing to hear

argument on Defendant Robert Samuel Shumake, Jr.’s Motion to Dismiss the

Complaint for Failure to State a Claim (ECF No. 14). For the reasons explained on

the record during that hearing, Defendant Shumake, Jr.’s motion (ECF No. 14) is

GRANTED IN PART and DENIED IN PART as follows:

      The motion is GRANTED to the extent that it seeks dismissal of Plaintiff’s

        claims against Shumake under Securities and Exchange Commission (SEC)

        Rule 10b-5(b), 17 CFR § 240.10b-5(b).

      The motion is DENIED in all other respects.



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Moreover, as further explained on the record, the Court GRANTS Plaintiff leave to

file a First Amended Complaint by no later than June 30, 2023. If Plaintiff decides

not to file a First Amended Complaint, it shall file a notice on the docket by no later

than June 30, 2023 informing the Court that it will not be amending its complaint.

      IT IS SO ORDERED.


                                        s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: June 9, 2023

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 9, 2023, by electronic means and/or ordinary mail.

                                        s/Holly A. Ryan
                                        Case Manager
                                        (313) 234-5126




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